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     ALEJANDRO ALVAREZ
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 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 3:20-CR-00086-WKO
12                              Plaintiff,              DEFENSE COUNSEL’S STATUS
                                                        CONFERENCE STATEMENT
13   v.
14   ALEJANDRO ALVAREZ,
15                              Defendant.
16

17                                           BACKGROUND
18
            This case arising out of Defendant’s arrest on November 1, 2017. Defendant was in
19
     state custody facing state charges based on the underlying facts and charges in the present
20
     Indictment.
21
            On November 23, 2020, twenty-eight (28) months after a failure to obtain a
22
     conviction on the state charges San Francisco Police Department Officer Michael Tursi, a
23
     subsequently deputized task force officer now with Drug Enforcement Administration, by
24
     affidavit procured a complaint in the Northern District of California U.S. District Court.
25
            The Indictment was filed on February 20, 2020, just prior to the COVID-19
26
     pandemic. Defendant has had 2 previous attorneys and now present counsel has been on this
27
     matter for approximately 30 days.
28
                                                    1
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 1                                            DISCOVERY
 2
            Discovery was forwarded by prior counsel on June 14, 2021. Discovery consists of a
 3
     significant volume including over 1600 jail calls, 1300 mobile telephone locator pings,
 4
     search warrant issues previously litigated and confidential informant issues previously
 5
     litigated.
 6
            Present counsel requires the transcripts and court rulings of the litigated motion
 7
     hearings. In addition, counsel requires additional time to adequately prepare and absorb the
 8
     underlying discovery.
 9

10                                 COUNSEL’S AVAILABILITY
11
            Counsel has the following previously set jury trials:
12
            People v. Simon Garcia             Madera County         August 17, 2021
13
            People v. Marcos Barboza           Alameda County        July 19, 2021
14
            People v. Marco Antonio Angulo Fresno County             August 6, 2021
15
            Mahmoud v. Dibuduo, et al          Fresno County         August 13,2021-trial readiness
16                                                                   August 16,2021-jury trial
                                                                     (2 weeks)
17          United States v. Serrato Calles    Eastern District      September 8, 2021 (3 weeks)
18          In addition, counsel has daily court obligations in ongoing criminal matters delayed
19 from COVID-19 delays which now are being set for trial if not resolved. My current

20 courtroom calendar has been impacted due to delayed setting of jury trials.

21
                                       REQUESTED ACTION
22

23          Counsel for the defense requests Alejandro Alvarez’s case be set for further Status
24 Conference to allow for adequate preparation, investigation, and potential Henthorn issues

25 to be raised prior to trial.

26          Counsel also requires the preparation and investigation time in order to prepare and
27 digest the underlying case. Counsel is aware of the lengthy prior delays and this request is

28 made with the consent and request of the defendant.
                                                2
            Case 3:20-cr-00086-WHO Document 75 Filed 07/09/21 Page 3 of 3




 1         Should this Court desire to place this matter on the trial calendar, counsel respectfully
 2 requests a trial date in late December 2021 or early January 2022.

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 4                                                     Respectfully submitted,
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     Dated: 07/09/2021                                 /s/ Nicholas F. Reyes
 6                                                     NICHOLAS F. REYES
                                                       Attorney for Defendant
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